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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF ILLINOIS

 UNITED STATES OF AMERICA,

 Plaintiff,

 v.

 BRYANT GILES,

 Defendant.                                                 No.    10-30084-DRH


                                       ORDER

 HERNDON, Chief Judge:

              Before the Court is Defendant Giles’s Motion for Disclosure of Accused

 (Doc. 68). Specifically, Defendant Giles seeks numerous discovery materials from

 the Government. Defendant Giles’s attorney was recently retained and entered his

 notice of appearance at the time of the filing of this motion. In his motion Defendant

 Giles seeks various, generalized discovery materials, including various written and

 recorded statements of potential witnesses and any reports of experts.           The

 Government responds that it has recently turned over discovery materials to

 Defendant’s new attorney, but that his attorney has not requested any additional

 discovery materials from the Government. As stated in the Order for Pretrial

 Discovery and Inspection, “[i]f additional discovery is sought, the party seeking it

 shall confer with opposing counsel...and attempt to satisfy these requests in a

 cooperative atmosphere without the involvement by the Court. The request may be

 oral or written and the opposing counsel shall respond in like manner” (Doc. 50).
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 The Government argues that Defendant’s attorney has failed to request any additional

 discovery and that prior to filing a motion for disclosure, Defendant’s attorney should

 have made a request for additional discovery to the Government. The Court agrees

 with the Government. If additional discovery is sought, Defendant’s attorney should

 try to work out the issue with the Government before seeking the Court’s

 involvement. Accordingly, the Court DENIES Defendant’s motion for disclosure of

 the accused (Doc. 69).

              IT IS SO ORDERED.

              Signed this 21st day of December, 2010.

                                                                David R. Herndon
                                                                2010.12.21
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                                               Chief Judge
                                               United States District Court




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